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                                                                         Rolando Valdivia, and Únete Healthcare
                                                                       8 Associates, LLC
                                                                       9                               UNITED STATES DISTRICT COURT
                                                                      10                             CENTRAL DISTRICT OF CALIFORNIA
                                                                      11
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                                 3900 Kilroy Airport Way, Suite 240




                                                                      12 AMERICAN CAREER COLLEGE,                       Case No. 2:21-cv-00698-PSG-SK
                                   Long Beach, California 90806




                                                                         INC., A CALIFORNIA
                                                                      13 CORPORATION, AND WEST                                      NOTICE OF
                                          (562) 923-0971




                                                                         COAST UNIVERSITY, INC., a                      MOTION AND MOTION TO
                                                                      14 California Corporation,                        QUASH AND/OR MOTION FOR
                                                                                                                        PROTECTIVE ORDER RE:
                                                                      15                      Plaintiffs,
                                                                                                                        PRODUCE DOCUMENTS,
                                                                      16            vs.                                 INFORMATION, OR OBJECTS OR
                                                                                                                        TO PERMIT INSPECTION OF
                                                                      17 MARIO OSWALDO MEDINA, SR.,                     PREMISES IN A CIVIL ACTION
                                                                         A/K/A MARIO OSWALDO MEDINA                     SERVED ON THE COUNTY OF
                                                                      18 ORTIZ, A/K/A MARIO M ORTIZ,                    LOS ANGELES PROBATION
                                                                         A/K/A MARIO OSWALDO MEDINO,                    DEPARTMENT; MEMORANDUM
                                                                      19 A/K/A MARIO ORTIZ MEDINA, an                   OF POINTS AND AUTHORITIES;
                                                                         individual; ROGER ADOLFO ORTIZ,                AND DECLARATION OF R.
                                                                      20 A/K/A/ROGER ORTIZ, A/K/A                       SCOTT HARLAN IN SUPPORT
                                                                         ROGER AOFL ORTIZ, an individual;               THEREOF
                                                                      21 ROLANDO VALDIVIA, A/K/A
                                                                         RAUL VALDEZ, A/K/A RAUL VAL,                   [Filed concurrently with Proposed
                                                                      22 an individual; ÚNETE HEALTHCARE                Order]
                                                                         ASSOCIATES, L.L.C. DBA PRONTO
                                                                      23 WELLNESS, a California limited                 Discovery Document: Referred to
                                                                         liability company, and DOES 1 100,             Magistrate Judge Steve Kim
                                                                      24 inclusive,
                                                                                                                        Judge: Hon. Steve Kim
                                                                      25                      Defendants.               Date:   September 7, 2022
                                                                                                                        Time:   10:00 a.m.
                                                                      26                                                Crtrm.: 540
                                                                         ÚNETE HEALTHCARE
                                                                      27 ASSOCIATES, L.L.C. DBA                         Action Filed:     January 26, 2021
                                                                                                                        Trial Date:       April 27, 2023
                                                                      28 PRONTO WELLNESS, a California
                                                                           LA/55581-001 1328737                     1                   Case No. 2:21-cv-00698-PSG-SK

                                                                           ORDER
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                                                                       1 limited liability company,
                                                                       2
                                                                                         Counterclaimant,
                                                                       3
                                                                               vs.
                                                                       4
                                                                         AMERICAN CAREER COLLEGE,
                                                                       5 INC., a California Corporation;
                                                                         WEST COAST UNIVERSITY,
                                                                       6
                                                                         INC., a California Corporation, and
                                                                       7 ROES 1 100, inclusive
                                                                       8                 Counter-Defendants.
                                                                       9
                                                                      10
                                                                      11 TO AMERICAN CAREER COLLEGE, INC. AND THEIR COUNSEL OF
TREDWAY, LUMSDAINE & DOYLE LLP
                                 3900 Kilroy Airport Way, Suite 240




                                                                      12 RECORD:
                                   Long Beach, California 90806




                                                                      13           PLEASE TAKE NOTICE that on September 7, 2022, at 10:00 a.m., or as
                                          (562) 923-0971




                                                                      14 soon thereafter as counsel may be heard, in the courtroom 540 of the Honorable
                                                                      15 Steve Kim, located in the United States Courthouse, 255 E. Temple Street, 5 th Floor,
                                                                      16 Los Angeles, CA 90012, Mario Ortiz, Roger Ortiz, Rolando Valdivia, and Únete
                                                                      17 Healthcare Associates, LLC ("Defendants") will and hereby do move this Court for
                                                                      18
                                                                      19 Objects or to Permit Inspection of Premises in a Civil Action served on the County
                                                                      20 of Los Angeles Probation Department, scheduled for August 3, 2022.
                                                                      21           This Motion is made upon the following grounds:
                                                                      22           1. Harassment
                                                                      23           2. Requests irrelevant information
                                                                      24           3. Invades rights of privacy
                                                                      25           4. Undue burden
                                                                      26           This Motion is based on this Notice of Motion, the attached Memorandum of
                                                                      27 Points and Authorities, the Declarations of R. Scott Harlan filed concurrently
                                                                      28 herewith, all of the pleadings, files, and records in this proceeding, all other matters
                                                                         LA/55581-001 1328737                         2                  Case No. 2:21-cv-00698-PSG-SK
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                                                                       1 of which the Court may take judicial notice, and any argument or evidence that may
                                                                       2 be presented to or considered by the Court prior to its ruling.
                                                                       3
                                                                       4 DATED: August 2, 2022                  TREDWAY, LUMSDAINE & DOYLE LLP
                                                                       5                                        ROY J. JIMENEZ
                                                                                                                R. SCOTT HARLAN
                                                                       6                                        JONATHAN J. COLEMAN
                                                                       7
                                                                       8
                                                                                                                By:
                                                                       9
                                                                                                                      R. SCOTT HARLAN
                                                                      10                                              Attorneys for Mario Ortiz, Roger Ortiz,
                                                                      11                                              Rolando Valdivia, and Únete Healthcare
TREDWAY, LUMSDAINE & DOYLE LLP




                                                                                                                      Associates, LLC
                                 3900 Kilroy Airport Way, Suite 240
                                   Long Beach, California 90806




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                                          (562) 923-0971




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                                                                           LA/55581-001 1328737                     3                Case No. 2:21-cv-00698-PSG-SK
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                             3900 Kilroy Airport Way, Suite 240




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                                                                     Wheel Group Holdings, LLC v. Cub Elecparts, Inc., l 7-cv-1294, 2018 WL
                             3900 Kilroy Airport Way, Suite 240




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                                                                  13
                                      (562) 923-0971




                                                                  14 STATUTES
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                                                                       1                  MEMORANDUM OF POINTS AND AUTHORITIES
                                                                       2           Defendants Mario Ortiz, Roger Ortiz, Rolando Valdivia, and Únete
                                                                       3 Healthcare Associates, LLC, herewith submits this Memorandum of Points and
                                                                       4 Authorities in support of this motion(s) pursuant to FRCP Rule 45(c)(3) to quash the
                                                                       5 LA County Probation Department Subpoena, and as an alternative relief, a motion
                                                                       6 pursuant to FRCP Rule 26(c) for a protective order.
                                                                       7           I.    INTRODUCTION & STATEMENT OF RELEVANT FACTS
                                                                       8           Defendant Roger Ortiz    Mr. Ortiz    is currently employed by the LA County
                                                                       9 Probation Department                                 as a sworn probation officer and
                                                                      10 one of his responsibilities at the Probation Department is to regularly meet with
                                                                      11 probationers regarding their probation status. (              Deposition Transcript,
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                                                                      12 173-74) Plaintiff has served a subpoena on the LA County Probation Department
                                   Long Beach, California 90806




                                                                      13 demanding production of email communications and attachments that were
                                          (562) 923-0971




                                                                      14                                 work email account
                                                                      15 (roger.ortiz@probation.lacounty.gov) from May 1, 2018 to present.
                                                                      16           Plaintiffs assert that communications from this email account is relevant for
                                                                      17 their claims asserted in this case. The relevancy is factually and legally wrong. Mr.
                                                                      18           employment as a probation officer has no bearing on any of the claims or
                                                                      19 counterclaims of this case                                                involvement
                                                                      20 with Pronto Wellness. There is a high risk of disclosing                 unrelated,
                                                                      21 private communications and communications with non-party probationers and if the
                                                                      22 docume                                                    and third-parties, including
                                                                      23                         constitutional right to privacy. Additionally, seeking
                                                                      24 communications from                  work email account is a fishing expedition,
                                                                      25 constitutes harassment, and seeks to intentionally and wrongfully interfere with Mr.
                                                                      26           employment relations with the Probation Department. Plaintiffs even attached
                                                                      27
                                                                      28 allegations, no doubt as an intentional attempt to smear Mr. Ortiz.
                                                                         LA/55581-001 1328737                        1                Case No. 2:21-cv-00698-PSG-SK
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                                                                       1            On July 20, 2022, Plaintiffs served a Subpoena on the LA County Probation
                                                                       2 Department to produce documents with the following scope:
                                                                       3              Please produce all emails sent to/from/cc the email account
                                                                       4 roger.ortiz@probation.lacounty.gov, from May 1, 2018 to present, containing any
                                                                       5 of the following search terms:
                                                                       6
                                                                       7
                                                                       8                                                                         (
                                                                       9 Subpoena to LA County Prob. Dept., Attachment A)
                                                                      10            On July 26, 2022, Defendants timely objected to the Subpoena on the grounds
                                                                      11 of undue burden, scope, harassment, relevance, privacy and privileged employment
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                                                                      12 information, and the Defendants sought a meet and confer
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                                                                      13 (see                                               Decl.    Exhibit A ) Additionally, on
                                          (562) 923-0971




                                                                      14 July 26, 2022, Defendants                 wrote a letter to the Probation informing that the
                                                                      15 Defendants have objected to the subpoena and are seeking to meet and confer with
                                                                      16                          to request withdrawal or confer on the scope of the requested
                                                                      17 documents. (see Decl. , Exhibit B )
                                                                      18            On July 26, 2022, Scott Harlan, counsel for the Defendants requested, via
                                                                      19 email,                                                      (Harlan Decl.) Following back
                                                                      20 and forth emails on the issues, counsel completed the meet and confer conference on
                                                                      21 Friday July 29, 2022 wherein counsel discussed all objections, issues, and options,
                                                                      22 and were unable to reach any agreement regarding the withdrawal of the subpoena.
                                                                      23 (Harlan Decl.) On August 2, 2022 counsel again met and conferred via email to be
                                                                      24 advised whether Plaintiffs would be withdrawing their subpoena based on the
                                                                      25 objections, or force Defendants to move to quash it. Counsel advised he was
                                                                      26 available for a conference call. Plaintiffs counsel responded and confirmed they
                                                                      27 would not be withdrawing the subpoena to LA Probation and invited further meet
                                                                      28
                                                                           LA/55581-001 1328737                        2                Case No. 2:21-cv-00698-PSG-SK
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                                                                       1 to video call Plaintiffs counsel Karen Alexander via FaceTime pursuant to Judge
                                                                       2                          -1 Supplemental Rules, at Ms.
                                                                       3 earlier to counsel on August 2, 2022 shortly thereafter, but the FaceTime video call
                                                                       4 was not answered by Plaintiffs counsel. (Harlan Decl., Exhibit C.)
                                                                       5
                                                                       6 Probation Department Subpoena and/or seek a Protective Order for the requested
                                                                       7 documents.
                                                                       8            II.     AUTHORITY FOR MOTION
                                                                       9                      A.      Authority for Motion to Quash
                                                                      10            Motions to quash and/or modify a subpoena are governed by Federal Rule of
                                                                      11 Civil Procedure, Rule 45(c)(3), which provides:
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                                                                                       A) When Required. on timely motion, the issuing court must quash or
                                   Long Beach, California 90806




                                                                      12
                                                                      13 modify a subpoena that:
                                          (562) 923-0971




                                                                      14            (i) fails to allow a reasonable time to comply;
                                                                      15
                                                                      16 than 100 miles from where that person resides, is employed, or regularly transacts
                                                                      17 business in person--except that, subject to Rule 45(c)(3)(B)(iii), the person may be
                                                                      18 commanded to attend a trial by traveling from any such place within the state where
                                                                      19 the trial is held;
                                                                      20            (iii) requires disclosure of privileged or other protected matter, if no exception
                                                                      21 or waiver applies; or
                                                                      22            (iv) subjects a person to undue burden.
                                                                      23            (B) When Permitted to protect a person subject to or affected by a subpoena,
                                                                      24 the issuing court may, on motion, quash or modify the subpoena if it requires:
                                                                      25            (i) disclosing a trade secret or other confidential research, development, or
                                                                      26            commercial information;
                                                                      27
                                                                      28 describe
                                                                           LA/55581-001 1328737                            3                Case No. 2:21-cv-00698-PSG-SK
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                                                                       1 not requested by a party; or
                                                                       2
                                                                       3 expense to travel more than 100 miles to attend trial.
                                                                       4            (C) Specifying Conditions as an Alternative. In the circumstances described
                                                                       5 in Rule 45(c)(3)(B), the court may, instead of quashing or modifying a subpoena,
                                                                       6 order appearance or production under specified conditions if the serving party:
                                                                       7            (i) shows a substantial need for the testimony or material that cannot be
                                                                       8 otherwise met without undue hardship (FRCP Rule 45(c)(3)).
                                                                       9            Defendants bring the following Motion to Quash pursuant to the above
                                                                      10 authorities based on their objections as discussed herein.
                                                                      11                      B.   Authority for Motion for Protective Order
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                                                                                    Motions for Protective Orders are governed by Federal Rule Civil Procedures
                                   Long Beach, California 90806




                                                                      12
                                                                      13 Rule 26(c), which provides:
                                          (562) 923-0971




                                                                      14            "(1) ln General. A party or any person from whom discovery is sought may
                                                                      15 move for a protective order in the court where the action is pending--or as an
                                                                      16 alternative on matters relating to a deposition, in the court for the district where the
                                                                      17 deposition will be taken. The motion must include a certification that the movant has
                                                                      18 in good faith conferred or attempted to confer with other affected parties in an effort
                                                                      19 to resolve the dispute without court action. The court may, for good cause, issue an
                                                                      20 order to protect a party or person from annoyance, embarrassment, oppression, or
                                                                      21 undue burden or expense, including one or more of the following:
                                                                      22            (A) forbidding the disclosure or discovery;
                                                                      23            (B) specifying terms, including time and place, for the disclosure or
                                                                      24 discovery;
                                                                      25            (C) prescribing a discovery method other than the one selected by the party
                                                                      26 seeking discovery;
                                                                      27            (D) forbidding inquiry into certain matters, or limiting the scope of disclosure
                                                                      28 or discovery to certain matters;
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                                                                       1           (E) designating the persons who may be present while the discovery is
                                                                       2 conducted;
                                                                       3           (F) requiring that a deposition be sealed and opened only on court order;
                                                                       4           (G) requiring that a trade secret or other confidential research, development,
                                                                       5 or commercial information not be revealed or be revealed only in a specified way;
                                                                       6           and
                                                                       7           (H) requiring that the parties simultaneously file specified documents or
                                                                       8 information
                                                                       9 in sealed envelopes, to be opened as the court directs.
                                                                      10           (2) Ordering Discovery. If a motion for a protective order is wholly or partly
                                                                      11 denied, the court may, on just terms, order that any party or person provide or permit
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                                                                                   discovery.
                                   Long Beach, California 90806




                                                                      12
                                                                      13           (3) Awarding Expenses. Rule 37(a)(5) applies to the award of expenses."
                                          (562) 923-0971




                                                                      14 (FRCP Rule 26)
                                                                      15           Defendants also seek in the alternative a Protective Order pursuant to the
                                                                      16 above authorities based on their objections as discussed herein.
                                                                      17                 C.     The Court should grant the motion to quash on the basis of
                                                                      18                        harassment, relevance and undue burden
                                                                      19           A subpoena may be quashed where it is "served for the purpose of annoying
                                                                      20 and harassment and not really for the purpose of getting information." Mattel, Inc. v.
                                                                      21 Walking Mountain Productions 353 F3d 792, 814 (9th Cir. 2003). The subpoena
                                                                      22 seeks information that is entirely irrelevant to this litigation, which is "inherently
                                                                      23 undue and burdensome." Wheel Group Holdings, LLC v. Cub Elecparts, Inc., l 7-cv-
                                                                      24 1294, 2018 WL 6264980, at *4 (C.D. Cal. Sept. 4, 2018) (citing litany of supporting
                                                                      25 cases and issuing protective order accordingly); accord Compaq Comp. Corp. v.
                                                                      26 Packard Bell Elec., Inc., 163 F.R.D. 329, 335-36 (N.D.Cal.1995); FRCP
                                                                      27 45(d)(3)(A)(iv).
                                                                      28            Mr. Ortiz's employment as a probation officer has no bearing on any of the
                                                                           LA/55581-001 1328737                       5                  Case No. 2:21-cv-00698-PSG-SK
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                                                                       1 claims or counterclaims of this case involving the business dispute between
                                                                       2 Plaintiffs and Defendants, or any business relations with Pronto. Plaintiffs are
                                                                       3 seeking to harass Mr. Ortiz by serving this subpoena after not doing so throughout
                                                                       4 the initial years of discovery in an attempt to sour and smear his name and
                                                                       5 relationship with his employers at the LA County Probation Department.
                                                                       6           Additionally, Plaintiffs have no reason to believe that Mr. Ortiz used his
                                                                       7 Probation email account to communicate with Pronto employees. Plaintiffs are
                                                                       8 pointing to an email forwarded by                  Pronto email address to his Probation
                                                                       9 Department email address. (Subpoena to LA County Probation Department, Ex. 2)
                                                                      10 The fact that Mr. Ortiz merely forwarded an email to himself by itself does not
                                                                      11 indicate               Probation Department email account was ever used to send out
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                                                                      12 emails to anyone relevant to this case, including Plaintiffs, Defendants, or non-party
                                   Long Beach, California 90806




                                                                      13 Pronto employees or witnesses. Accordingly, the email attached at Exhibit 2 in the
                                          (562) 923-0971




                                                                      14 LA County Probation Subpoena by itself is insufficient justification to allow such
                                                                      15 invasive and harassing document production subpoena from LA Probation and Mr.
                                                                      16           @probation.lacounty.gov email address.
                                                                      17           Since there is such a weak nexus, the subpoena seeks information that is
                                                                      18                                                                                  Wheel
                                                                      19 Group Holdings, LLC v. Cub Elecparts, Inc., 17-cv-1294, 2018 WL 6264980, at *4
                                                                      20 (C.D. Cal. Sept. 4, 2018) (citing litany of supporting cases and issuing protective
                                                                      21 order accordingly); accord Compaq Comp. Corp. v. Packard Bell Elec., Inc., 163
                                                                      22 F.R.D. 329, 335 36 (N.D.Cal. 1995); FRCP 45(d)(3)(A)(iv). Correspondence
                                                                      23 showing the CCing of an email does not warrant the fishing expedition into all of
                                                                      24                                                                              .
                                                                      25                 D.     The Subpoena is Overbroad and Seeks Items Outside the
                                                                      26                        Scope of Discovery
                                                                      27           According to the FRCP, the scope of discovery as follows: Unless otherwise
                                                                      28 limited by court order, the scope of discovery is as follows: Parties may obtain
                                                                         LA/55581-001 1328737                       6                  Case No. 2:21-cv-00698-PSG-SK
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                                                                       1 discovery regarding any nonprivileged matter that is relevant to any              claim or
                                                                       2 defense. Including the existence, description, nature, custody, condition, and
                                                                       3 location of any documents or other tangible things and the identity and location of
                                                                       4 persons who know of any discoverable matter. For good cause, the court may order
                                                                       5 discovery of any matter relevant to the subject matter involved in the action.
                                                                       6 Relevant information need not be admissible at the trial if the discovery appears
                                                                       7 reasonably calculated to lead to the discovery of admissible evidence. All discovery
                                                                       8 is subject to the limitations imposed by Rule 26(b)(2)(C). (See FCRP Rule
                                                                       9 26(b)(1).)
                                                                      10            Because the information is available through another source, because the
                                                                      11 relevance is highly tangential, and because the defendants could have but failed to
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                                                                      12 obtain this from Mr. Ortiz through deposition questioning and written
                                   Long Beach, California 90806




                                                                      13 interrogatories, the motion to quash and/or modify should be granted. The subpoena
                                          (562) 923-0971




                                                                      14 is overbroad in that it seeks information that would not relate to Pronto or the
                                                                      15 Plaintiffs. Additionally, production of emails from @probation.lacounty.gov could
                                                                      16 lead to the disclosure of information relating to non-party probationers.
                                                                      17                      E.   The Subpoena Threatens the Confidential Information of
                                                                      18                           Others
                                                                      19            Mr. Ortiz works as a corrections officer, and communications contained
                                                                      20 within those correspondences contain information of both probationers and
                                                                      21
                                                                      22 Ortiz cannot waive. Furthermore, asking this third party to conduct the review of
                                                                      23 such documents would be an undue burden on the department of the corrections, as
                                                                      24 they need to sift through keyword searches that will have multiple unintended hits.
                                                                      25
                                                                      26
                                                                      27 occur in the present searches. See FRCP 45(d)(3)(A)(iii).
                                                                      28 / / /
                                                                           LA/55581-001 1328737                        7                Case No. 2:21-cv-00698-PSG-SK
                                                                                                     MOTION AND MOTION TO QUASH AND/OR MOTION FOR PROTECTIVE
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                                                                       1           California law also recognized an inalienable right to privacy.
                                                                       2                                                                                ust
                                                                       3 demonstrate a compelling need for discovery, and that compelling need must be so
                                                                       4 strong as to outweigh the privacy right when these two competing interests are
                                                                       5 carefully balanced. Artis v. Deere & Co. (N.D. Cal. 2011) 276 F.R.D. 348,
                                                                       6 352. While additional discovery may be merited in other areas of this case, to
                                                                       7
                                                                       8
                                                                       9 nexus of any activity related to this account.
                                                                      10                 F.     The Court Should Grant the Motion for Protective Order
                                                                      11           If the court allows some form of the subpoena to go forward, the court should
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                                                                      12 further grant the alternative motion for a protective order, pursuant to FRCP Rule
                                   Long Beach, California 90806




                                                                      13 26(c) and should impose the following limitations on the requested discovery:
                                          (562) 923-0971




                                                                      14           1.    That documents obtained from the LA County Probation Department
                                                                      15                 be subject to a protective order limiting their use to the present
                                                                      16                 litigation only; limiting their dissemination to counsel involved in these
                                                                      17                 proceedings, the defendants; and any expert witnesses; and having
                                                                      18                 further safeguards to insure that the records are kept in a private and
                                                                      19                 confidential manner and are not disseminated to other third parties, and
                                                                      20                 are not used for any other purpose other than the present litigation; or
                                                                      21           2.    That discovery be permitted in the form of a deposition of an official
                                                                      22                 with the LA County Probation Department on the issue of: (1) whether
                                                                      23                 Roger Ortiz has in fact sent emails from the LA County Probation
                                                                      24                 Department that includes the search terms specified in Attachment A of
                                                                      25                 the Subpoena.
                                                                      26           The basis of the request for protective order is that the records requested are
                                                                      27 government employment records that are subject to a reasonable expectation of a
                                                                      28 right of privacy. Accordingly, good cause exists for the issuance of a protective
                                                                         LA/55581-001 1328737                     8                    Case No. 2:21-cv-00698-PSG-SK
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                                                                       1 order, and the motion for a protective order should be accordingly granted.
                                                                       2            III.      CONCLUSION
                                                                       3            Based on the foregoing, the motion to quash the LA County Probation
                                                                       4 subpoena should be granted; in the alternative, this Court should make a protective
                                                                       5 order.
                                                                       6
                                                                       7 DATED: August 2, 2022                   TREDWAY, LUMSDAINE & DOYLE LLP
                                                                       8                                         ROY J. JIMENEZ
                                                                                                                 R. SCOTT HARLAN
                                                                       9                                         JONATHAN J. COLEMAN
                                                                      10
                                                                      11
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                                                                                                                 By:
                                   Long Beach, California 90806




                                                                      12
                                                                                                                       R. SCOTT HARLAN
                                                                      13                                               Attorneys for Mario Ortiz, Roger Ortiz,
                                          (562) 923-0971




                                                                      14                                               Rolando Valdivia, and Únete Healthcare
                                                                                                                       Associates, LLC
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                                                                           LA/55581-001 1328737                      9                Case No. 2:21-cv-00698-PSG-SK
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                                                                       1                            DECLARATION OF R. SCOTT HARLAN
                                                                       2            I, R. Scott Harlan, declare as follows:
                                                                       3            1.        I am an attorney duly admitted to practice before this Court. I am an
                                                                       4 associate with Tredway, Lumsdaine & Doyle LLP, attorneys of record for Mario
                                                                       5 Ortiz, Roger Ortiz, Rolando Valdivia, and Únete Healthcare Associates, LLC. If
                                                                       6 called as a witness, I could and would competently testify to all facts within my
                                                                       7 personal knowledge except where stated upon information and belief. I make this
                                                                       8
                                                                       9
                                                                      10 Information, or Objects or to Permit Inspection of Premises in a Civil Action Served
                                                                      11 on the County of Los Angeles Probation Department; Memorandum of Points and
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                                                                      12 Authorities; and Declaration of R. Scott Harlan in Support Thereof.
                                   Long Beach, California 90806




                                                                      13            2.        Defendant Roger Ortiz is currently employed by the LA County
                                          (562) 923-0971




                                                                      14 Probation Department as a sworn probation officer and one of his responsibilities at
                                                                      15 the Probation Department is to regularly meet with probationers regarding their
                                                                      16 probation status.
                                                                      17            3.        Plaintiff has served a subpoena on the LA County Probation
                                                                      18 Department demanding production of email communications and attachments that
                                                                      19
                                                                      20 (roger.ortiz@probation.lacounty.gov) from May 1, 2018 to present.
                                                                      21            4.        On July 20, 2022, Plaintiffs served a Subpoena on the LA County
                                                                      22 Probation Department to produce documents with the following scope:
                                                                      23              Please produce all emails sent to/from/cc the email account
                                                                      24 roger.ortiz@probation.lacounty.gov, from May 1, 2018 to present, containing any
                                                                      25 of the following search terms:
                                                                      26
                                                                      27
                                                                      28                                                                          (
                                                                           LA/55581-001 1328737                          1                Case No. 2:21-cv-00698-PSG-SK
                                                                                                       MOTION AND MOTION TO QUASH AND/OR MOTION FOR PROTECTIVE
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                                                                       1 Subpoena to LA County Prob. Dept., Attachment A)
                                                                       2           5.   On July 26, 2022, Defendants timely objected to the Subpoena on the
                                                                       3 grounds of undue burden, scope, harassment, relevance, privacy and privileged
                                                                       4 employment information, and the Defendants sought a meet and confer with
                                                                       5
                                                                       6           6.
                                                                       7 the Probation informing that the Defendants have objected to the subpoena and are
                                                                       8
                                                                       9 on the scope of the requested documents. A true and correct copy is attached as
                                                                      10 Exhibit B.
                                                                      11           7.   On July 26, 2022, counsel for Defendants R. Scott Harlan sent via
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                                   Long Beach, California 90806




                                                                      12
                                                                      13 emails on the issues, counsel completed the meet and confer conference on Friday
                                          (562) 923-0971




                                                                      14 July 29, 2022 wherein counsel discussed all objections, issues, and options, and
                                                                      15 were unable to reach any agreement regarding the withdrawal of the subpoena.
                                                                      16           8.   On August 2, 2022 counsel again met and conferred via email to be
                                                                      17 advised whether Plaintiffs would be withdrawing their subpoena based on the
                                                                      18 objections, or force Defendants to move to quash it. Counsel advised he was
                                                                      19 available for a conference call. Plaintiffs counsel responded and confirmed they
                                                                      20 would not be withdrawing the subpoena to LA Probation and invited further meet
                                                                      21 and confer conference in the afte
                                                                      22 to video call Plaintiffs counsel Karen Alexander via FaceTime pursuant to Judge
                                                                      23                 -
                                                                      24 earlier to counsel on August 2, 2022 shortly thereafter, but the FaceTime video call
                                                                      25 was not answered by Plaintiffs counsel. A true and correct copy of the emails are
                                                                      26 attached as Exhibit C.
                                                                      27           9.   Counsel of record for the parties held their pre-filing conference of
                                                                      28 counsel as required by Local Rule 37-1 via telephone on July 29, 2022 at 2:02 p.m.,
                                                                         LA/55581-001 1328737                     2                  Case No. 2:21-cv-00698-PSG-SK
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                                                                       1 via multiple emails, and finally counsel for Defendants attempted a further final
                                                                       2 FaceTime videoconference on August 2, 2022 following Plaintiffs counsel Karen
                                                                       3                      4:15pm email invitation for same, but said FaceTime call was
                                                                       4 technologically infeasible as counsel for Plaintiffs failed to answer it on August 2,
                                                                       5 2022 at 5:00 p.m.
                                                                       6            10.       To eliminate or narrow the disputed discovery issues, counsel of record
                                                                       7 for the parties discussed not only the merits of their dispute(s) but also addressed
                                                                       8
                                                                       9 Supplemental Local Rule 37-1 Requirements.
                                                                      10            11.       Counsel of record for the parties agree that the remaining disputed
                                                                      11 discovery issues cannot be eliminated or narrowed either by further discussion of
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                                                                      12 their merits or by ensuring compliance with the discovery procedures explained in
                                   Long Beach, California 90806




                                                                      13                                                                 -1 Requirements.
                                          (562) 923-0971




                                                                      14            I declare under penalty of perjury under the laws of the United States of
                                                                      15 America that the foregoing is true and correct.
                                                                      16            Executed on this 2nd day of August, 2022, at Long Beach, California.
                                                                      17
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                                                                                                                           R. Scott Harlan
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                                                                           LA/55581-001 1328737                          3                Case No. 2:21-cv-00698-PSG-SK
                                                                                                       MOTION AND MOTION TO QUASH AND/OR MOTION FOR PROTECTIVE
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                                                                       1                                  PROOF OF SERVICE
                                                                       2        American Career College, Inc. et al. v. Mario Oswaldo Medina, Sr., et al.
                                                                                                 Case No. 2:21-cv-00698-PSG-SK
                                                                       3
                                                                           STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
                                                                       4
                                                                               At the time of service, I was over 18 years of age and not a party to this
                                                                       5 action. I am employed in the County of Los Angeles, State of California. My
                                                                         business address is 3900 Kilroy Airport Way, Suite 240, Long Beach, CA 90806.
                                                                       6
                                                                               On August 2, 2022, I served true copies of the following document(s)
                                                                       7 described as
                                                                       8 SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                                                                         OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION
                                                                       9 SERVED ON THE COUNTY OF LOS ANGELES PROBATION
                                                                         DEPARTMENT; MEMORANDUM OF POINTS AND AUTHORITIES; AND
                                                                      10 DECLARATION OF JONATHAN J. COLEMAN IN SUPPORT THEREOF
                                                                         on the interested parties in this action as follows:
                                                                      11
TREDWAY, LUMSDAINE & DOYLE LLP




                                                                                                  SEE ATTACHED SERVICE LIST
                                 3900 Kilroy Airport Way, Suite 240
                                   Long Beach, California 90806




                                                                      12
                                                                                BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed
                                                                      13 the document(s) with the Clerk of the Court by using the CM/ECF system.
                                          (562) 923-0971




                                                                         Participants in the case who are registered CM/ECF users will be served by the
                                                                      14 CM/ECF system. Participants in the case who are not registered CM/ECF users will
                                                                         be served by mail or by other means permitted by the court rules.
                                                                      15
                                                                                BY MAIL: I enclosed the document(s) in a sealed envelope or package
                                                                      16 addressed to the persons at the addresses listed in the Service List and placed the
                                                                         envelope for collection and mailing, following our ordinary business practices. I am
                                                                      17 readily familiar with the practice of Tredway, Lumsdaine & Doyle LLP for
                                                                         collecting and processing correspondence for mailing. On the same day that
                                                                      18 correspondence is placed for collection and mailing, it is deposited in the ordinary
                                                                         course of business with the United States Postal Service, in a sealed envelope with
                                                                      19 postage fully prepaid.
                                                                      20        BY E-MAIL OR ELECTRONIC TRANSMISSION: I caused a copy of
                                                                         the document(s) to be sent from e-mail address cnguyen@tldlaw.com to the persons
                                                                      21 at the e-mail addresses listed in the Service List. I did not receive, within a
                                                                         reasonable time after the transmission, any electronic message or other indication
                                                                      22 that the transmission was unsuccessful.
                                                                      23       I declare under penalty of perjury under the laws of the United States of
                                                                         America that the foregoing is true and correct and that I am employed in the office
                                                                      24 of a member of the bar of this Court at whose direction the service was made.
                                                                      25            Executed on August 2, 2022, at Long Beach, California.
                                                                      26
                                                                      27
                                                                                                                      Crystal Nguyen
                                                                      28
                                                                           LA/55581-001 1328737                                         Case No. 2:21-cv-00698-PSG-SK

                                                                           ORDER
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                                                                       1                                    SERVICE LIST
                                                                       2        American Career College, Inc. et al. v. Mario Oswaldo Medina, Sr., et al.
                                                                                                 Case No. 2:21-cv-00698-PSG-SK
                                                                       3
                                                                         Edward Cramp                                  Attorneys for Plaintiffs/Counter
                                                                       4 Patricia P. Hollenbeck                        Defendant AMERICAN CAREER
                                                                         Karen L. Alexander                            COLLEGE, INC., a California
                                                                       5 Ayad Mathews                                  corporation; WEST COAST
                                                                         DUANE MORRIS LLP                              UNIVERSITY, INC.,
                                                                       6 750 B Street, Suite 2900                      a California corporation
                                                                         San Diego, CA 92101
                                                                       7 Telephone: (619) 744-2200
                                                                         Facsimile: (619) 744-2201                     SERVED BY CM/ECF NOTICE OF
                                                                       8 Emails:                                       ELECTRONIC FILING ONLY
                                                                         EMCramp@duanemorris.com
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                                                                         klalexander@duanemorris.com
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                                                                         kasaari@duanemorris.com
                                                                      11 AMathews@duanemorris.com
TREDWAY, LUMSDAINE & DOYLE LLP
                                 3900 Kilroy Airport Way, Suite 240




                                                                      12 Los Angeles County Probation Department       SERVED BY MAIL AND E-MAIL
                                   Long Beach, California 90806




                                                                         9150 E. Imperial Hwy.                         ONLY
                                                                      13 Downey, California 90242
                                          (562) 923-0971




                                                                         subpoenas@probation.lacounty.gov
                                                                      14
                                                                         First Legal                                   SERVED BY MAIL AND E-MAIL
                                                                      15 1517 W. Beverly Blvd                          ONLY
                                                                      16 Los Angeles, CA 90026
                                                                         Telephone: (213) 250-1111
                                                                      17 receiving@firstlegal.com
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